    Case: 1:20-cr-00400 Document #: 37 Filed: 04/06/21 Page 1 of 2 PageID #:79




                     IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


UNITED STATES OF AMERICA,               )
                                        )
                      Plaintiff,        )
                v.                      )
                                        )        20 CR 400
WENDELL KEMP,                           )        Judge Martha M. Pacold
                                        )
                                        )
                      Defendant.        )

                 WENDELL KEMP’S UNOPPOSED MOTION TO
                     EXPAND CONDITIONS OF BOND

      NOW COMES Defendant, WENDELL KEMP, through his counsel,

JOSHUA B. ADAMS, and respectfully requests this honorable court amend the

conditions of his release and remove Mr. Kemp from home incarceration and

place him on a nightly curfew. In support of his motion, Mr. Kemp states the

following.

      1. On July 28, 2020 this honorable court admitted Mr. Kemp to an

             unsecured bond and ordered him placed on home incarceration.

      2. Mr. Kemp has fully complied with all conditions of his release since his

             initial appearance.

      3. Additionally, Mr. Kemp secured employment at Platinum Detail in

             Bourbonnais, Illinois. His hours of employment are from 9am to 6pm

             Monday through Saturday.
   Case: 1:20-cr-00400 Document #: 37 Filed: 04/06/21 Page 2 of 2 PageID #:80




     4. Mr. Kemp respectfully requests this honorable court downgrade his

        term of pre-trial release from home incarceration to a nightly curfew,

        to enable him to take care of personal errands and other family

        accommodations.

     5. Pre-trial Services does not object to this request

     6. The government does not object to this request.


     Therefore, Mr. Kemp respectfully requests this honorable court modify the

     conditions of his bond and place him on a nightly curfew.



                                                    Respectfully submitted,


                                                    /s/Joshua B. Adams
                                                    Joshua B. Adams
                                                    Counsel for Wendell Kemp



LAW OFFICES OF JOSHUA B. ADAMS, P.C.
53 W. Jackson Blvd., Suite 1615
Chicago, IL 60604
(312) 566-9173
